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                    United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 23-3228                                                     September Term, 2023
                                                                FILED ON: FEBRUARY 6, 2024
UNITED STATES OF AMERICA,
                   APPELLEE
v.
DONALD J. TRUMP,
                       APPELLANT

                           Appeal from the United States District Court
                                   for the District of Columbia
                                      (No. 1:23-cr-00257-1)

       Before: HENDERSON, CHILDS and PAN, Circuit Judges
                                         JUDGMENT
       This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is
       ORDERED and ADJUDGED that the order of the District Court appealed from in this
cause be affirmed, in accordance with the opinion of the court filed herein this date.
         The Clerk is directed to withhold issuance of the mandate through February 12, 2024. If,
within that period, Appellant notifies the Clerk in writing that he has filed an application with the
Supreme Court for a stay of the mandate pending the filing of a petition for a writ of certiorari, the
Clerk is directed to withhold issuance of the mandate pending the Supreme Court’s final
disposition of the application. The filing of a petition for rehearing or rehearing en banc will not
result in any withholding of the mandate, although the grant of rehearing or rehearing en banc
would result in a recall of the mandate if the mandate has already issued. See D.C. Cir. R.
41(a)(4).
                                            Per Curiam

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk
                                                      BY:     /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk

Date: February 6, 2024
Opinion Per Curiam
